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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




James U. Payne,

                                   Plaintiff(s),

v.                                                     Case No. 2:22−cv−12574−MAG−KGA
                                                       Hon. Mark A. Goldsmith
Broadworth, et al.,

                                   Defendant(s).




                                CLERK'S ENTRY OF DEFAULT

Party in Default: T. Anderson, Broadworth, Silveus, Townley

     The default of the party named above for failure to plead or otherwise defend is entered.



                                      Certificate of Service

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record herein by electronic means or first class U.S. mail.

                                                   KINIKIA D. ESSIX, CLERK OF COURT


                                               By: s/ S Krause
                                                   Deputy Clerk

Dated: January 18, 2023
